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                                                                   May 19, 2023
 VIA ECF
 Hon. Marcia M. Henry
 United States Magistrate Judge
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

                      Re: Paccha v. APS Electric, Inc. et al
                          Case No.: 23-cv-2075 (NRM)(MMH)

 Dear Judge Henry:

                This firm represents Plaintiff. We write to provide a status report in compliance
 with the Court’s May 5, 2023 order. As the Court noted, Plaintiff has served Defendants.
 Defendants have retained counsel, and the parties agreed on April 17, 2023 that Defendants would
 have 45 days (until June 1) to respond and that Defendants would not challenge service of process.
 We ask that the Court extend Defendants’ deadline to respond to the Complaint until that date.

                      We thank the Court for its consideration of this submission.

                                                                   Respectfully submitted,
                                                                   ---------------/s/------------
                                                                   Michael Taubenfeld
